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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTER.N DISTRICT OF TENNESSEE
WESTERN DIVISION

08/04/2005

CASE NO: 02-20356-B

 

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US DISTRICT COURT

